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                           NOTICE OF LAWSUIT AND REQUEST FOR
                             WAIVER OF SERVICE OF SUMMONS

TO:    Jerry Conner                             Civil Action
       901 Rice Street N.W.                           No.        1:17-cv-03619-MHC-LTW
       Atlanta,GA 30318                                               Troy Barber
                                                                             vs.
                                                                      Jerry Conner

        A lawsuit has been commenced against you (or the entity on whose behalf you are addressed). A copy
of the complaint is attached to this notice. It has been filed in the United States District Court for the Northern
District of Georgia, Atlanta Division, and has been assigned the above case number. The enclosed Complaint
WAIVER OF SERVICE OF SUMMONS form are served pursuant to Rule 4(d) of the Federal Rules of Civil
Procedure.

        This is not a formal summons or notification from the court, but rather my request that you sign and
return the enclosed waiver of service in order to save the cost of serving you with a judicial summons and an
additional copy of the complaint. The cost of service will be avoided if the United States District Court Clerk’s
Office receives a signed copy of the waiver within 35 days after the date designated below as the date on which
this Notice and Request is sent. I enclose a stamped and addressed envelope (or other means of cost-free return)
for your use. An extra copy of the waiver is also attached for your records.

         If you comply with this request and return the signed waiver, it will be filed with the court and no
summons will be served on you. The action will then proceed as if you had been served on the date the waiver
is filed, except that you will not be obligated to answer the complaint before 60 days from the date designated
below as the date on which this notice is sent (or before 90 days from that date if your address is not in any
judicial district of the United States).

        If you do not return the signed waiver within the time indicated, appropriate steps will be taken to effect
formal service in a manner authorized by the Federal Rules of Civil Procedure and then, to the extent authorized
by those Rules, the court will be asked to require you (or the party on whose behalf you are addressed) to pay
the full costs of such service. In that connection, please read the statement concerning the duty of parties to
waive the service of the summons, which is set forth on the reverse side of the waiver form.

         If you waive further service YOU MUST COMPLETE, SIGN AND DATE THE WAIVER OF
SERVICE OF SUMMONS form ON ALL COPIES. If you are served on behalf of a corporation, unincorporated
association (including a partnership), or other entity, you must indicate under your signature your relationship
to that entity. If you are served on behalf of another person and you are authorized to receive process, you must
indicate under your signature your authority.

            This portion to be completed by United States District Court Clerk’s Office only.

     I affirm that this request is being sent to you on behalf of the plaintiff, this 16th day of
November,2017.


                                                       __ s/ Brittney Walker__________________________
                                                       Signature (Deputy Clerk)
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This form to be completed by the United States District Court Clerk’s Office and dated and signed by
                                        the Defendant only.



                                  WAIVER OF SERVICE OF SUMMONS

TO:     THE CLERK OF COURT, NORTHERN DISTRICT OF GEORGIA on behalf of:

        Troy Barber (Plaintiff)

        I acknowledge receipt of your request that I waive service of a summons in the action of Troy Barber
vs. Jerry Conner, which is case number 1:17-cv-03619-MHC-LTW, in the United States District Court for the
Northern District of Georgia, Atlanta Division. I have also received a copy of the complaint in the action, two
copies of this instrument, and a means by which I can return the signed waiver to you without cost to me.

        I agree to save the cost of service of a summons and an additional copy of the complaint in this lawsuit
by not requiring that I (or the entity of whose behalf I am acting) be served with judicial process in the manner
provided by Rule 4.

        I (or the entity on whose behalf I am acting) will retain all defenses or objections to the lawsuit or to the
jurisdiction or venue of the court except for objections based on a defect in the summons or in the service of the
summons.

      I understand that a judgment may be entered against me (or the party on whose behalf I am acting) if an
answer or motion under Rule 12 is not filed with the court and served upon you within 60 days after
________________, or within 90 days after that date if the request was sent outside the United States.


____________________                            _____________________________________
Date                                                  Signature
                                                      Printed/
                                                      Typed Name: _________________________
                                                                         [as ______________________]
                                                                         [of ______________________]
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                      Duty to Avoid Unnecessary Costs of Service of Summons


       Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary

costs of service of the summons and complaint. A defendant located in the United States who, after being

notified of an action and asked by a plaintiff located in the United States to waive service of a summons, fails

to do so will be required to bear the cost of such service unless good cause be shown for its failure to sign and

return the waiver.

       It is not good cause for a failure to waive service that a party believes that the complaint is unfounded,

or that the action has been brought in an improper place or in a court that lacks jurisdiction over the subject

matter of the action or over its person or property. A party who waives service of the summons retains all

defenses and objections (except any relating to the summons or to the service of the summons), and may later

object to the jurisdiction of the court or to the place where the action has been brought.

       A defendant who waives service must within the time specified on the waiver form serve on the

plaintiff’s attorney (or unrepresented plaintiff) a response to the complaint and must also file a signed copy of

the response with the court. If the answer or motion is not served within this time, a default judgment may be

taken against that defendant. By waiving service, a defendant is allowed more time to answer than if the

summons had been actually served when the request for waiver of service was received.
